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FZ?_.E\.{`:`} _ _ __ ET‘.C.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE [j§ JU§-,! -3 PH 3: 58
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20211-D

JOHN SIMMONS

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlN D|N GS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearingl

ARRAIGNMENT SET FOR WEDNESDAY, .IUNE 15, 2005 AT 10:00 AM BEFORE
MAGISTRATE JUDGE TU M. PHAM

D|RECT|ONS REGARD|NG DETENT|ON

JOHN SIMMONS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. JOHN SIMMONS shall be afforded a reasonable opportunity for private
consultation with defense counsel. 0n order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: .Iune 8, 2005 K k

" ‘ TU M. PHAM
UNITED sTArEs MAGIsTRATE IUDGE

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with Huie co and/er 32(b) FFiCrP on ` 'U 5/ d

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-202ll was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

FPD

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Honorable Bernice Donald
US DISTRICT COURT

